






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00722-CV






In the Mater of G. V.






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT

NO. J-28,570, HONORABLE W. JEANNE MEURER, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		The district court, sitting as a juvenile court, adjudicated G.V. delinquent after
finding&nbsp;that he committed the offense of failure to identify.  See Tex. Penal Code Ann. § 38.02(b)
(West Supp. 2007).  The juvenile court assessed punishment at six months' probation.  In a single
issue on appeal, G.V. challenges the legal and factual sufficiency of the evidence.  We will
affirm&nbsp;the&nbsp;judgment.


BACKGROUND

		The juvenile court heard evidence that on July 22, 2007, at approximately 4:00 or
5:00 in the afternoon, Officer Rory Sullivan and other officers of the Austin Police Department were
dispatched to an apartment complex at 2104 East Anderson Lane to investigate a disturbance.  When
asked to describe the nature of the call that brought him to this location, Sullivan testified,


There [were] a couple of calls that came out but basically it was a disturbance.  A
group of individuals that had been involved in a disturbance on a prior date had
arrived at the complex and they were there on the scene, and I can't remember--I
think there was something about a gun being involved and somebody's car getting
damaged on a previous incident, and then the group was at the apartment complex
when we were dispatched.

When asked to describe the prior disturbance that was mentioned in the dispatch, Sullivan explained,


There was a fight that happened.  I don't remember if it was the day before or the
week before or what.  The other officers on scene were familiar with it and it was a
fight.  Somebody's car was damaged, criminal mischief, and then like a second call
came out as we were going out there, something involving a gun.  I don't know if that
was--a gun was involved on the prior call.  We didn't know--something came out
about a gun, I remember, and so--but we never found, you know, any guns or
anything on the suspect.


		Officer Sullivan testified that, when the officers arrived at the apartment complex,
they received an updated call from dispatch indicating that the group was at the pool area. 
Accordingly, the officers proceeded to the gated pool area, where they observed "a group of juveniles
at the pool."  According to Sullivan, there were "about 10 to 15 juveniles" inside the pool area,
"mostly males," but also "a few females."  Sullivan recounted, "Some were swimming, some were
just hanging out on bench chairs."  When asked if these were the same individuals whom the caller (1)
identified as having been involved in the prior disturbance, Sullivan testified, "Yes."  The officers
determined that none of the individuals lived at the apartment complex.

		Sullivan also noticed "an aluminum baseball bat laying on the pool area."  Sullivan
testified that the bat was "beside" an individual later identified as G.V.  Sullivan explained,
"I&nbsp;walked up and he moved the bat to his--he reached down.  I don't know if he moved it.  He
reached down to the bat and then came back up, and I asked whose bat is that, and he admitted, he
said, that's my bat."  Sullivan testified, "I asked him about the bat and he said he just got done
playing baseball."  This explanation "didn't make sense" to Sullivan, because G.V. "didn't have any
baseball gloves, he didn't have a baseball itself."  Sullivan also testified that he did not see a baseball
or a baseball glove on any other individual in the pool area.

		At this point, Officer Sullivan asked G.V. to identify himself.  Sullivan testified that
G.V. gave him an informal version of his name and a date of birth.  The date of birth G.V. gave
Sullivan was August 3, 1989.  Sullivan, however, "was not able to find his name under the name and
date of birth that he had given me."  Sullivan testified, "I couldn't find out who he was so I arrested
him for having the baseball bat,[ (2)] and on the way to the jail I was still trying to . . . identify him." 
On the way to the jail, Sullivan was able to positively identify G.V.  It turned out that G.V.'s actual
date of birth was August 3, 1990. (3)

		In the State's original petition alleging delinquent conduct, the State charged G.V.
with intentionally giving a false name and a false date of birth to a police officer while the officer
was lawfully detaining G.V.  The juvenile court found that G.V. was lawfully detained.  The juvenile
court's reasoning was as follows:


I think the police have a duty to investigate, and if the dispatch said this group of kids
is back over here, they were here sometime earlier, it wasn't precise but it was
information that I think the police have a duty to investigate, to try to prevent another
incident of assault or damage that occurred at the same place.  So he goes to
investigate, he sees a group of kids, some of them supposedly or at least were
dispatched as having been there before, and he sees a baseball bat which by itself is
not an illegal weapon but we all know can be used to damage property or people.  So
I think he had a right to lawfully detain and question the Respondent.

		The juvenile court also found that "there was confusion about [G.V.'s] name," but
that there was no confusion about G.V. giving a specific and inaccurate date of birth.  Thus, the
juvenile court found not true the paragraph alleging that G.V. intentionally gave a false name, but
found true the paragraph alleging that G.V. intentionally gave a false date of birth.  The juvenile
court proceeded to disposition, after which it assessed punishment at six months' probation.  This
appeal followed.


STANDARD OF REVIEW

		Adjudications of delinquency in juvenile cases are based on the criminal standard
of&nbsp;proof.  See Tex. Fam. Code Ann. § 54.03(f) (West Supp. 2007).  Therefore, we review
adjudications of delinquency in juvenile cases by applying the same standards applicable to
sufficiency of the evidence challenges in criminal cases.  In re M.C.L., 110 S.W.3d 591, 594
(Tex.&nbsp;App.--Austin 2003, no pet.).

		When there is a challenge to the legal sufficiency of the evidence to sustain a
criminal&nbsp;conviction, we consider whether a rational trier of fact could have found the essential
elements of&nbsp;the&nbsp;offense beyond a reasonable doubt.  Vodochodsky v. State, 158 S.W.3d 502, 509
(Tex.&nbsp;Crim.&nbsp;App. 2005).  We review all the evidence in the light most favorable to the verdict and
assume that the trier of fact resolved conflicts in the testimony, weighed the evidence, and
drew&nbsp;reasonable inferences in a manner that supports the verdict.  See Rollerson v. State,
227&nbsp;S.W.3d&nbsp;718,&nbsp;724 (Tex. Crim. App. 2007); Shams v. State, 195 S.W.3d 346, 347
(Tex.&nbsp;App.--Austin&nbsp;2006,&nbsp;pet.&nbsp;ref'd) (citing Griffin v. State, 614 S.W.2d 155, 159
(Tex.&nbsp;Crim.&nbsp;App.&nbsp;1981)).  It is not necessary that every fact point directly and independently to the
defendant's guilt, but it is enough if the conclusion is warranted by the combined and
cumulative&nbsp;force of all the incriminating circumstances.  Hooper v. State, 214 S.W.3d 9, 13
(Tex.&nbsp;Crim. App. 2007).  We must consider all the evidence, rightly or wrongly admitted, that
the&nbsp;trier of fact was permitted to consider.  See Conner v. State, 67 S.W.3d 192, 197
(Tex.&nbsp;Crim.&nbsp;App. 2001).

		In a factual sufficiency review, we view the evidence in a neutral light and
ask&nbsp;whether the trier of fact was rationally justified in finding guilt beyond a reasonable doubt. 
See&nbsp;Watson v. State, 204 S.W.3d 404, 414 (Tex. Crim. App. 2006); see also Wooley v. State,
No.&nbsp;PD-0861-07, 2008 Tex. Crim. App. LEXIS 762, at *21 (Tex. Crim. App. June 25, 2008)
(holding that factual sufficiency, like legal sufficiency, should be measured "by the elements of the
offense as defined by a hypothetically correct jury charge").  We then determine whether the
evidence supporting the verdict is so weak that the verdict is clearly wrong and manifestly unjust or
whether the verdict is against the great weight and preponderance of the conflicting evidence. 
Watson, 204 S.W.3d at 415.  "The verdict may be set aside only if it is so contrary to the
overwhelming weight of the evidence as to be clearly wrong and unjust."  Grotti v. State,
No.&nbsp;PD-134-07, 2008 Tex. Crim. App. LEXIS 761, at *13 (Tex. Crim. App. June 25, 2008)
(citing&nbsp;Watson, 204 S.W.3d at 414-17).  In other words, we will not reverse a case on a factual
sufficiency challenge unless we can say, with some objective basis in the record, that the great
weight and preponderance of the evidence contradicts the verdict.  See Watson, 204 S.W.3d at 417.




ANALYSIS

		A person commits the offense of failure to identify if he intentionally gives a false
or fictitious name, residence address, or date of birth to a peace officer who has lawfully arrested or
detained him.  See Tex. Penal Code Ann. § 38.02(b).  G.V. does not dispute the sufficiency of the
evidence supporting the district court's finding that he provided a false date of birth.  Instead, G.V. 
asserts that the evidence is insufficient to prove that he was lawfully arrested or detained at the time
he gave Officer Sullivan a false date of birth.  G.V. claims that Sullivan did not have reasonable
suspicion to detain him for anything other than "possession of a baseball bat," which, according to
G.V., was not unlawful under the circumstances.  The State responds that Sullivan had enough
specific, articulable facts available to him from which he could reasonably suspect that G.V. had
been or soon would be engaged in criminal activity.

		A police officer may lawfully conduct a temporary detention if there is reasonable
suspicion to believe that the detained person is violating the law.  Neal v. State, 256 S.W.3d 264,
2008&nbsp;Tex. Crim. App. LEXIS 754, at *29 (Tex. Crim. App. June 18, 2008);  Ford v. State,
158&nbsp;S.W.3d 488, 492 (Tex. Crim. App. 2005).  Reasonable suspicion exists if the officer has
specific, articulable facts that, when combined with rational inferences from those facts, would lead
him to reasonably conclude that a particular person actually is, has been, or soon will be engaged in
criminal activity.  Neal, 2008 Tex. Crim. App. LEXIS, at *29-30.  "This is an objective standard that
disregards any subjective intent of the officer making the stop and looks solely to whether an
objective basis for the stop exists."  Ford, 158 S.W.3d at 492.  In making this determination, we
consider the totality of the circumstances.  Neal, 2008 Tex. Crim. App. LEXIS, at *30.

		Although Officer Sullivan testified that the reason he initially detained G.V. was
because of his possession of the baseball bat, the record reflects additional circumstances that led
him to believe that G.V. was, or soon would be, engaged in criminal activity.  First, Sullivan and
other officers received calls from dispatch about a "group of individuals" who were creating a
disturbance at an apartment complex.  These individuals, according to the dispatch, had been
involved in a prior disturbance that Sullivan characterized as "a fight."  This fight involved
"criminal&nbsp;mischief" resulting in "somebody's car [getting] damaged."  The dispatch also indicated
that a gun was possibly involved in the current disturbance.

		Second, once Officer Sullivan arrived at the scene, he observed a group of individuals
at the pool area.  The pool area was the same location where the dispatch had specifically indicated
the group of individuals could be found.  Sullivan also testified that the officers determined that none
of the individuals in the pool area lived at the apartment complex, and that these were the individuals
who the caller had identified as being involved in the prior disturbance.

		Third, Officer Sullivan observed an aluminum baseball bat on the ground "beside"
G.V.  Sullivan testified that, when he walked up to G.V., G.V. "reached down to the bat and then
came back up."  G.V. admitted that the bat belonged to him.  When Sullivan asked G.V. about the
bat, G.V. explained that he had been playing baseball.  This explanation "didn't make sense" to
Sullivan, because there were no other baseball items, such as a ball or a glove, either on or around
G.V. or any of the other individuals in the pool area.

		Viewing the above evidence in the light most favorable to the finding, we conclude
that a rational trier of fact could find beyond a reasonable doubt that Officer Sullivan had specific,
articulable facts that, when combined with rational inferences from those facts, would lead him to
reasonably conclude that G.V. actually is, has been, or soon will be engaged in criminal activity.  To
summarize, Sullivan had received information about a disturbance at the same location where a prior
disturbance had been reported.  This prior disturbance involved the same group of individuals who
were involved in the current disturbance, a "fight," and "criminal mischief" that resulted in
"somebody's car [getting] damaged."  A gun was reportedly involved in the current disturbance. 
Although no gun was found, a rational trier of fact could infer that an aluminum baseball bat could
be used to inflict damage to either persons or property.  Thus, G.V.'s possession of the bat, although
by itself not necessarily a criminal act, could be evidence of criminal activity when considered
together with the other circumstances in this particular case.  This is especially true when considering
the evidence showing that G.V. possessed the bat in a swimming pool area, and that there were no
baseballs or gloves found on or around G.V. or anyone else in the pool area.  We conclude that the
evidence was legally sufficient to support the juvenile court's finding.

		When considering the evidence in a neutral light, we similarly conclude that the
evidence is factually sufficient.  G.V. provided no contrary evidence refuting Officer Sullivan's
testimony, so we cannot say, with some objective basis in the record, that the great weight and
preponderance of the evidence contradicts the juvenile court's finding.

		We overrule G.V.'s sole issue on appeal.







CONCLUSION

		We affirm the judgment of the juvenile court.



						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Affirmed

Filed:   August 22, 2008

1.   There is no indication in the record as to the identity of the person who reported the
disturbance.
2.   On cross-examination, Officer Sullivan testified that the baseball bat was also the reason
he initially detained G.V. 
3.   In other words, G.V. represented to Officer Sullivan that he was almost eighteen when, in
fact, he was not yet seventeen.

